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                           IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF ARKANSAS
                                  FA YETTEVILLE DIVISION

 UNITED STATES of AMERICA                                                                 PLAINTIFF

         V.                             NO. S:11-CR-S0121-00S

 IVAN ARNOLDO SALAN-AGUILAR                                                            DEFENDANT

              MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

         Pursuant to the provisions of28 U.S.C. § 636(b)(1) and (3), Local Rule 72.1 ~ XII, and

 General Order No. 40, this matter was referred to the undersigned for the purposes of conducting

 a plea hearing pursuant to Rule 11 of the Federal Rules of Criminal Procedure. Such a hearing

 was conducted on April2S, 2012, and, pursuant to a written plea agreement, the Defendant

 entered a plea of guilty to Count 1.

        The plea agreement states that if it is accepted by the Court, once the Court has

 pronounced sentence, the Government will move to dismiss Count Two and the Forfeiture

 Allegation of the Superseding Indictment.

        After conducting the hearing in the form and manner prescribed by Rule 11, the

 undersigned finds:

        1.      The Defendant, after consultation with his counsel, has knowingly and voluntarily

 consented, both in writing and on the record at the hearing, to the entry of his guilty plea before

 the undersigned, with the plea being subject to final approval by United States District Judge

 Jimm Larry Hendren.

        2.      The Defendant and the Government have entered into a written plea agreement

 which has been disclosed in open court pursuant to Rule 11(c)(2), and the undersigned has

 directed that the plea agreement be filed.
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         3.      The Defendant is fully competent and capable of entering an infonned plea; the

 Defendant is aware of the nature of the charges, the applicable maximum penalties, and the

 consequences of the plea; the Defendant is fully satisfied with his counsel and has had sufficient

 time to consult with him; and the plea of guilty is a knowing and voluntary plea supported by an

 independent basis in fact containing each of the essential elements of the offense.

         4.      The Defendant understands his constitutional and statutory rights and wishes to

 waive these rights.

         5.      The parties were infonned, both in writing and on the record at the hearing, of

 their right to file written objections within fourteen (14) days after receipt of this Report and

 Recommendation. To expedite acceptance of the guilty plea, the parties waived, both on the

 record and in writing, their right to file objections.

         Based on the foregoing, the undersigned recommends that the guilty plea be accepted and

 that the written plea agreement be tentatively approved, subject to final approval at sentencing.



        IT IS SO ORDERED this April 25, 2012.




                                                 JAMES MARSCHEWSKI
                                                 Chief United States Magistrate Judge
